      Case 2:14-md-02592-EEF-MBN Document 5641-17 Filed 03/03/17 Page 1 of 16
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 REVIEW ARTICLE



Clinical Pharmacokinetic and Pharmacodynamic Proﬁle
of Rivaroxaban
Wolfgang Mueck • Jan Stampfuss • Dagmar Kubitza •
Michael Becka




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Abstract Rivaroxaban is an oral, direct Factor Xa                      1 Introduction
inhibitor that targets free and clot-bound Factor Xa and
Factor Xa in the prothrombinase complex. It is absorbed                Vitamin K antagonists (VKAs) have been the only oral
rapidly, with maximum plasma concentrations being                      anticoagulants available for clinical use for many decades.
reached 2–4 h after tablet intake. Oral bioavailability is             Although effective, VKAs have a slow onset and offset of
high (80–100 %) for the 10 mg tablet irrespective of food              action, numerous food–drug and drug–drug interactions,
intake and for the 15 mg and 20 mg tablets when taken                  and an unpredictable pharmacodynamic response that
with food. Variability in the pharmacokinetic parameters is            necessitate routine coagulation monitoring and dose
moderate (coefﬁcient of variation 30–40 %). The pharmaco-              adjustment [1]. Direct oral anticoagulants that speciﬁcally
kinetic proﬁle of rivaroxaban is consistent in healthy subjects        target a single coagulation factor (such as Factor Xa or
and across a broad range of different patient populations              thrombin) have been developed in recent years to over-
studied. Elimination of rivaroxaban from plasma occurs with a          come the limitations of established anticoagulants. Factor
terminal half-life of 5–9 h in healthy young subjects                  Xa plays a central role in blood coagulation and is acti-
and 11–13 h in elderly subjects. Rivaroxaban produces a                vated by both the intrinsic and extrinsic coagulation path-
pharmacodynamic effect that is closely correlated with its             ways. Factor Xa directly converts prothrombin to thrombin
plasma concentration. The pharmacokinetic and pharmaco-                via the prothrombinase complex, leading to ﬁbrin clot
dynamic relationship for inhibition of Factor Xa activity              formation and activation of platelets by thrombin [2]. Data
can be described by an Emax model, and prothrombin time                from both preclinical and clinical studies have conﬁrmed
prolongation by a linear model. Rivaroxaban does not inhibit           that Factor Xa and thrombin are viable targets for effective
cytochrome P450 enzymes or known drug transporter systems              anticoagulation. Direct Factor Xa inhibitors and direct
and, because rivaroxaban has multiple elimination pathways,            thrombin inhibitors have shown similar or improved efﬁ-
it has no clinically relevant interactions with most commonly          cacy and safety proﬁles compared with conventional anti-
prescribed medications. Rivaroxaban has been approved for              coagulants, such as the VKAs (e.g. warfarin) and low
clinical use in several thromboembolic disorders.                      molecular weight heparin, in clinical studies across several
                                                                       thromboembolic indications [1].
                                                                          Unlike the VKAs, these direct oral anticoagulants have
                                                                       been shown to have predictable pharmacokinetics and
                                                                       pharmacodynamics, a low potential for drug–drug inter-
                                                                       actions, and are given at ﬁxed doses without the need for
W. Mueck (&)  J. Stampfuss  D. Kubitza
Clinical Pharmacology, Bayer Pharma AG, Aprather Weg 18a,              routine coagulation monitoring [1]. Several of these com-
42113 Wuppertal, Germany                                               pounds (e.g. rivaroxaban, apixaban, and dabigatran etexi-
e-mail: wolfgang.mueck@bayer.com                                       late) have been approved by the regulatory authorities for
                                                                       the management of speciﬁc thromboembolic disorders
M. Becka
Department of Biometry, Pharmacometry, Bayer Pharma AG,                based on results from phase III studies. Among these,
Wuppertal, Germany                                                     rivaroxaban (XareltoÒ)—a direct Factor Xa inhibitor—was
      Case 2:14-md-02592-EEF-MBN Document 5641-17 Filed 03/03/17 Page 2 of 16
2                                                                                                               W. Mueck et al.


approved for clinical use in 2008 for the prevention of          2.2 Mode of Action
venous thromboembolism (VTE) in adults undergoing
elective hip or knee replacement surgery. It is now also         Rivaroxaban is a direct, speciﬁc Factor Xa inhibitor [19].
indicated for the prevention of stroke and systemic embo-        In vitro kinetic studies showed that the inhibition of human
lism in adults with non-valvular atrial ﬁbrillation (AF) and     Factor Xa by rivaroxaban was competitive [inhibition
for the treatment of deep vein thrombosis (DVT) and              constant (Ki) 0.4 ± 0.02 nM] with 10,000-fold greater
pulmonary embolism (PE), and prevention of recurrent             selectivity than for other serine proteases—it does not
DVT and PE in adult patients [3, 4]. In addition, riva-          inhibit related serine proteases at concentrations up to
roxaban is now approved in the European Union for the            20 lM [19]. Rivaroxaban potently inhibited prothrombin-
prevention of atherothrombotic events in adult patients          ase activity [inhibitory concentration 50 % (IC50)
with acute coronary syndrome (ACS) who have elevated             2.1 ± 0.4 nM], and clot-associated Factor Xa activity
cardiac biomarkers, combined with aspirin (acetylsalicylic       (IC50 75 nM) [19, 20]. In human plasma, rivaroxaban
acid) with or without clopidogrel or ticlopidine [3]. The        inhibited endogenous Factor Xa activity in a concentration-
dose regimens of rivaroxaban selected for the phase III          dependent manner with an IC50 of 21 ± 1 nM [19]. In an
studies [5–12] that underpin these approvals were based on       ex vivo study, rivaroxaban at a single dose of 5 mg and
data from an extensive phase I and phase II clinical study       30 mg reduced collagen-induced endogenous thrombin
program [13–16].                                                 potential in human plasma by approximately 80 and 90 %,
   This article provides a summary of the pharmacokinetic and    respectively, and tissue factor-induced endogenous
pharmacodynamic, biopharmaceutical, and drug–drug inter-         thrombin potential by approximately 40 and 65 %,
action proﬁle of rivaroxaban. The population pharmaco-           respectively [21]. In contrast to indirect Factor Xa inhibi-
kinetic/pharmacodynamic relationships of rivaroxaban,            tors (such as fondaparinux), rivaroxaban does not require
established in both healthy subjects and in the target patient   any cofactor to exert its anticoagulant effect [22]. In human
populations, are reviewed and potential clinical implications    plasma, rivaroxaban concentration-dependently inhibited
are discussed.                                                   thrombin generation and, thus, the ampliﬁcation processes
                                                                 of coagulation. Thrombin generation was almost com-
                                                                 pletely inhibited at therapeutically relevant concentrations
2 Preclinical Pharmacology                                       (80–100 nM) of rivaroxaban [23]. In addition, rivaroxaban
                                                                 increased the permeability and degradability of the whole
2.1 Chemical and Physicochemical Properties                      blood clot, by decreasing thrombin generation [24]. How-
                                                                 ever, rivaroxaban does not inhibit the activity of pre-
Rivaroxaban—5-chloro-N-([(5S)-2-oxo-3-[4-(3-oxomorph-            existing thrombin molecules [25].
olin-4-yl)phenyl]-1,3-oxazolidin-5-yl]methyl)thiophene-2-           When given prophylactically, rivaroxaban had consis-
carboxamide (Fig. 1) [17]—has a molecular weight of              tent antithrombotic effects in venous and arterial throm-
435.88 and is classiﬁed under the Biopharmaceutical Clas-        botic models in mice, rats, and rabbits [19, 26].
siﬁcation System [18] as a low-solubility, high-permeability     Importantly, bleeding times were not signiﬁcantly
compound (Class 2). Rivaroxaban has limited pH-indepen-          increased at antithrombotic-effective doses tested in these
dent solubility in aqueous medium (5–7 mg/L; pH 1–9), but        models [19]. When preclinical and clinical data were input
is, for instance, slightly soluble in polyethylene glycol 400    into a computer-generated blood coagulation model, riva-
(2,431 mg/L). Using a validated Caco-2 cell assay, the           roxaban showed favorable sensitivity for clotting induced
apparent permeability values of the rivaroxaban molecule at      by tissue factor concentration compared with warfarin. The
concentrations of 1–100 lM were approximately                    model also predicted a broad therapeutic window for riva-
8 9 10-6 cm/s. With a log P value (octanol/water partition)      roxaban based on a steep concentration–effect relationship
coefﬁcient of 1.5, rivaroxaban exhibits moderate lipophil-       that ﬂattened rapidly at higher inhibitor concentrations [27].
icity, reﬂected in its low-to-moderate afﬁnity to peripheral     No QTc prolongation effect was observed for rivaroxaban
tissues.                                                         in preclinical experiments nor in a study on QT-interval in
                                                                 healthy volunteers [28] that was conducted according to
                                O
                                                                 the International Conference on Harmonisation guideline
                                                        CI       E14 [29].
                                    O
         O     N               N                    S               As with other direct oral anticoagulants, there is no
                                          H
                                          N                      speciﬁc antidote available at present for rivaroxaban for
                O                                                use in emergency situations. The potential of hemostatic
                                                O
                                                                 agents, such as prothrombin complex concentrate, has been
Fig. 1 Chemical structure of rivaroxaban [17]                    investigated for reversal of the anticoagulant effect of
      Case 2:14-md-02592-EEF-MBN Document 5641-17 Filed 03/03/17 Page 3 of 16
Clinical Pharmacology of Rivaroxaban                                                                                        3


rivaroxaban. Studies in healthy volunteers have shown that       the administered dose (Bayer HealthCare; unpublished
both three-factor and four-factor prothrombin complex            data).
concentrates can reverse the effect of rivaroxaban [e.g.             In humans, the plasma protein binding for rivaroxaban is
inhibition of thrombin generation and prolongation of the        high (approximately 92–95 % in vitro) and reversible.
prothrombin time (PT)] [30, 31].                                 Serum albumin is the main plasma binding component [3,
                                                                 35]. Owing to its high plasma protein binding, rivaroxaban
                                                                 is not expected to be dialyzable. Volume of distribution at
3 Pharmacokinetic Properties                                     steady state is approximately 50 L (0.62 L/kg), indicating
                                                                 its low-to-moderate afﬁnity to peripheral tissues.
3.1 Absorption, Bioavailability,
    and Biopharmaceutical Proﬁle                                 3.3 Metabolism and Elimination

Rivaroxaban concentrations in human plasma were deter-           Elimination of rivaroxaban proceeds via a dual pathway:
mined by use of a high-performance liquid chromatography–        renal elimination of unchanged drug and metabolic deg-
tandem mass spectrometry method. Using this method, a            radation of the drug. Approximately one-third (36 %,
wide range of plasma concentrations (0.50–500 lg/L) could        Fig. 2) of the dose is eliminated as unchanged active drug
be determined with a high inter-assay accuracy (96.3–102.        in the urine. Of the 36 % of the rivaroxaban dose elimi-
9 %) and precision (B7.4 %) [32].                                nated in urine, active renal secretion accounts for 30 % and
   Rivaroxaban was absorbed rapidly with maximum                 glomerular ﬁltration for 6 % [36]. In vitro and in vivo drug
plasma concentrations (Cmax) being reached 2–4 h after a         interaction studies suggest that transporters involved in
single dose (1.25–80 mg) and multiple doses (up to 30 mg         active renal secretion of rivaroxaban are P-glycoprotein
twice daily) [25, 33]. Rivaroxaban did not accumulate to a       (P-gp) and breast cancer resistance protein [BCRP
relevant extent after multiple dosing [33]. Data from other      (ABCG2)] [37, 38]. Approximately two-thirds of a dose is
phase I studies in healthy subjects showed that absorption is    subject to metabolic degradation (Fig. 2). Rivaroxaban is
almost complete (oral bioavailability approached                 metabolized by several cytochrome P450 enzymes (CYP
80–100 %) for the 10 mg tablet dose, irrespective of fasting     3A4/5, CYP2J2) and CYP-independent mechanisms [39,
or fed conditions. Intake with food did not affect the area      40]. The contribution of these clearance pathways has been
under the plasma concentration–time curve (AUC) or Cmax          quantiﬁed to the following average values: CYP3A4
after a 10 mg dose of rivaroxaban. In contrast, the bio-         accounts for approximately 18 % and CYP2J2 for
availability of a 20 mg tablet was 66 % under fasting con-       approximately 14 % of total rivaroxaban elimination. In
ditions. The extent of absorption approached completeness        addition to this oxidative biotransformation, non-CYP-
when a 20 mg rivaroxaban tablet was administered with            mediated hydrolysis of the amide bonds accounts for 14 %
food, giving rise to an increase in the mean AUC of 39 %.        of total rivaroxaban elimination [38]. The resulting
Under fed conditions, dose proportionality was achieved          metabolites are eliminated both renally and via the hepa-
after the administration of 10 mg, 15 mg, and 20 mg riva-        tobiliary route (Fig. 2) [3, 36].
roxaban tablets (Table 1). In addition, there was no inﬂuence       Unchanged rivaroxaban predominates in human plasma
with respect to types of food (a high-fat or high-carbohydrate   after administration, with no major active circulating
meal) on the pharmacokinetics of rivaroxaban [34]. When          metabolites present [3, 36]. Elimination of rivaroxaban from
administered orally with food, AUC and Cmax values were          plasma occurs with a terminal half-life of 5–9 h in healthy
similar for whole and crushed rivaroxaban 20 mg tablets,         young subjects [25, 33] and 11–13 h in elderly subjects [41].
whereas a crushed tablet suspended in water, administered        The systemic clearance after intravenous administration in
using a nasogastric tube and followed by a liquid meal, gave     healthy subjects is approximately 10 L/h (0.14 L/h/kg), with
similar AUC values but an 18 % reduction in Cmax [4].            a moderate inter-individual variability (coefﬁcient of varia-
                                                                 tion) ranging from 30 to 40 % (Fig. 2) [3, 16, 36].
3.2 Protein Binding and Distribution

In rats, rivaroxaban distributed heterogeneously to tissues      4 Pharmacokinetic Properties in Selected
and organs exhibited only moderate tissue afﬁnity, and did         Special Populations
not substantially penetrate the blood–brain barrier [35]. In
studies in rats, [14C]rivaroxaban (and labeled metabolites)      4.1 Age
was found to penetrate the placental barrier to a moderate
degree (AUC ratio fetus/maternal blood approximately 0.2)        The inﬂuence of age on the pharmacokinetics of rivaroxaban
and its secretion into breast milk was approximately 2 % of      has been investigated in phase I studies. Investigations in
         Case 2:14-md-02592-EEF-MBN Document 5641-17 Filed 03/03/17 Page 4 of 16
4                                                                                                                         W. Mueck et al.


Table 1 Pharmacokinetic parameters of rivaroxaban in healthy subjects after escalating doses [34]
Parameter              Fasted                                                        Fed
                       2.5 mg tablet       5 mg tablet           10 mg tablet        10 mg tablet       15 mg tablet        20 mg tablet

AUC (lg  h/L)         321 (28.8)          626 (18.8)            1,114 (25.2)        1,201 (21.3)       1,801 (22.2)        2,294 (19.0)
                       [165.4–551.9]       [422.6–851.4]         [685.3–1,842]       [621.5–1,798]      [952.1–2,870]       [1,464–3,227]
Cmax (lg/L)            52.0 (28.1)         90.6 (24.0)           138.4 (29.7)        161.7 (17.2)       234.2 (17.4)        294.4 (15.0)
                       [28.6–103.0]        [56.2–145.0]          [77.4–251.0]        [127.3–235.4]      [170.8–347.1]       [225.4–360.6]
tmax (h)a              2.00                1.50                  2.50                3.00               3.50                3.00
                       [0.75–4.00]         [0.75–6.00]           [1.00–4.00]         [0.50–6.00]        [1.00–6.00]         [0.50–6.00]
t (h)                 4.99 (28.8)         6.79 (33.4)           10.77 (28.3)        10.98 (44.7)       11.10 (62.1)        12.08 (60.8)
                       [2.33–7.39]         [3.62–13.34]          [5.63–17.34]        [4.72–21.75]       [5.11–33.76]        [4.79–36.43]
Values are geometric mean (% coefﬁcient of variation), [range]
a
    Data are median (range)
AUC area under the plasma concentration–time curve after a single dose, Cmax maximum drug concentration in plasma after a single dose,
t half-life associated with the terminal slope, tmax time to maximum concentration in plasma after a single dose




Fig. 2 Summary of absorption, distribution, metabolism, and elim-        glomerular ﬁltration CLRF), CYP3A4 cytochrome P450 3A4, CYP2J2
ination of rivaroxaban [3, 16, 36]. All numbers given are approxi-       cytochrome P450 2J2, Fabs absolute bioavailability, P-gp P-glyco-
mate. BCRP breast cancer resistance protein, CLsys systemic (plasma)     protein, Vss volume of distribution at steady-state
clearance, CLR renal clearance (via active secretion CLRS and


healthy elderly subjects aged [75 years showed that there                concentrations, with mean AUC values being 41 % higher in
was an increase in rivaroxaban exposure in this age group                elderly than in younger subjects. These changes were mainly
compared with younger subjects (aged 18–45 years) [42].                  attributed to the reduced rivaroxaban clearance in the elderly
Although age alone had no clinically relevant effect on the              subjects, arising from reduced renal and non-renal clearance
Cmax and the time to reach Cmax after a 10 mg dose in                    [42]. However, dose adjustment based on age alone is not
this study, elderly subjects exhibited higher plasma                     required with rivaroxaban, as demonstrated in the subgroup
      Case 2:14-md-02592-EEF-MBN Document 5641-17 Filed 03/03/17 Page 5 of 16
Clinical Pharmacology of Rivaroxaban                                                                                                  5


analyses of several phase III clinical studies, although a dose   of rivaroxaban and the CLCR rates of the subjects. Renal
adjustment based on renal function is recommended for             clearance decreased from 2.4 L/h in healthy subjects to
stroke prevention in patients with non-valvular AF (see Sect.     0.5 L/h in subjects with severe renal impairment.
5.3).                                                             Oral clearance reduced from 8.0 L/h in healthy subjects to
                                                                  4.5 L/h in those with severe renal impairment [47]. There
4.2 Sex and Body Weight                                           are no data available for patients with CLCR \15 mL/min,
                                                                  and rivaroxaban is not recommended in this patient group.
The potential inﬂuences of sex and body weight on the             No dose adjustment is required for patients with a CLCR
pharmacokinetics of rivaroxaban have also been investigated.      C15 mL/min in the approved indications, except for stroke
In phase I studies, no relevant differences in pharmacokinetic    prevention in patients with non-valvular AF (see Table 2
parameters (such as AUC and Cmax) were observed between           and Sect. 5.3 for further details).
the male and female subjects within the respective treatment
groups [42, 43]. Extremes in body weight (B50 or[120 kg)          4.5 Hepatic Impairment
had only a small inﬂuence on rivaroxaban concentrations
(\25 %) compared with subjects with a body weight of              Patients with mild hepatic impairment (classiﬁed as Child–
70–80 kg [43]. These ﬁndings indicated that dose adjustment       Pugh A [48, 49]) exhibited only minor changes in the
for sex and/or body weight would not be necessary for riva-       pharmacokinetics of rivaroxaban (i.e. an average of 1.2-
roxaban, which has been further supported by data from the        fold increase in AUC), compared with the healthy control
phase III studies.                                                group [50]. In patients with moderate hepatic impairment
                                                                  (classiﬁed as Child–Pugh B), there was an increase in
4.3 Ethnicity                                                     rivaroxaban plasma concentrations and a prolonged elimi-
                                                                  nation phase. In these patients, the AUC and Cmax were
Differences in rivaroxaban exposure observed between the          increased by 2.3- and 1.3-fold, respectively, compared with
various investigated ethnic groups—Caucasians, African-           healthy subjects. In addition, the elimination half-life was
Americans, Hispanics, Chinese, and Japanese—were
within the normal magnitude of inter-individual variability.      Table 2 Rivaroxaban approved indications and recommended
The greatest difference compared with Caucasians was              dose regimens [3]
observed for Japanese subjects; however, this was only a          Indication                                           Recommended
minor-to-moderate increase in rivaroxaban plasma expo-                                                                 dosea
sure (20–40 %), which can at least partially be attributed to
                                                                  VTE prevention after elective hip or knee
a generally lower body weight in Japanese subjects [44].           replacement surgery
Additional studies in healthy Chinese subjects also indi-             5 weeks (elective hip replacement surgery)       10 mg od
cated that the pharmacokinetics of rivaroxaban were sim-
                                                                      2 weeks (elective knee replacement surgery)      10 mg od
ilar to those in healthy Caucasian subjects [45, 46]. These
                                                                  Treatment of DVT and PE and prevention of
results suggest that ﬁxed doses of rivaroxaban can be              recurrent VTE
employed regardless of ethnicity.                                     First 21 days                                    15 mg bid
                                                                      From day 22 onwards                              20 mg od
4.4 Renal Impairment                                              Stroke prevention in patients with
                                                                    non-valvular AFb
Because approximately one-third of the administered riva-             Patients with CLCR C50 mL/min                    20 mg od
roxaban dose is excreted renally as unchanged drug, renal             Patients with CLCR 15–49 mL/min                  15 mg od
insufﬁciency is expected to affect drug elimination. Data         Prevention of atherothrombotic events after ACS      2.5 mg bid
from a phase I study showed an increase in rivaroxaban             in patients with elevated cardiac biomarkersc
exposure correlated to decreased renal function, as assessed      a
                                                                    For all dose regimens, rivaroxaban should be used with caution in
via creatinine clearance (CLCR) measurements (calculated          patients with CLCR 15–29 mL/min; rivaroxaban is not recommended
by the Cockcroft–Gault formula) [47]. In subjects with mild       for patients with CLCR \15 mL/min
                                                                  b
(CLCR 50–80 mL/min), moderate (CLCR 30–49 mL/min),                   With one or more risk factors, such as congestive heart failure,
and severe (CLCR 15–29 mL/min) renal impairment,                  hypertension, age C75 years, diabetes mellitus, prior stroke, or tran-
                                                                  sient ischemic attack
rivaroxaban plasma concentrations (AUC) were increased            c
                                                                     Rivaroxaban is co-administered with aspirin plus clopidogrel or
1.4-, 1.5-, and 1.6-fold, respectively, compared with sub-        ticlopidine (in the European Union)
jects with normal renal function. The increase in AUC was         ACS acute coronary syndrome, AF atrial ﬁbrillation, bid twice daily,
inversely correlated with the CLCR rate, and there was a          CLCR creatinine clearance, DVT deep vein thrombosis, od once daily,
close correlation between the renal and total body clearance      PE pulmonary embolism, VTE venous thromboembolism
      Case 2:14-md-02592-EEF-MBN Document 5641-17 Filed 03/03/17 Page 6 of 16
6                                                                                                              W. Mueck et al.


prolonged by approximately 2 h compared with healthy              simulate the effect of different dosing regimens and popu-
subjects. The increase in exposure was driven by both             lation demographic factors (e.g. age, renal function, and
reduced hepatic and renal clearance. The renal clearance of       body weight) and the effect of co-medications [14, 51].
rivaroxaban was 1.4 and 0.7 L/h in subjects with mild and            Population pharmacokinetic analyses in patients
moderate hepatic impairment, respectively, compared with          undergoing total hip surgery included 5,743 samples
2.4 L/h in the healthy subjects; this decrease was inde-          from 758 patients receiving either once-daily or twice-
pendent of renal function as assessed via CLCR. There was         daily rivaroxaban [14]. An oral, one-compartment model
a signiﬁcant correlation between unbound rivaroxaban in           with a ﬁrst-order absorption rate was found to accurately
plasma and serum albumin [50]. Rivaroxaban is contrain-           describe the pharmacokinetics of rivaroxaban. The results
dicated in patients with hepatic disease associated with          conﬁrmed that rivaroxaban exhibited a dose-proportional
coagulopathy and risk of clinically relevant bleeding,            pharmacokinetic proﬁle in total hip replacement surgery
including cirrhotic patients classiﬁed as Child–Pugh B and        patients. The estimated values for AUC, Cmax, and
C [3].                                                            trough plasma concentration (Ctrough) after 10 mg once
                                                                  daily are given in Table 3. The pharmacokinetic
4.6 Pediatric Population                                          parameters were affected by body weight, study day,
                                                                  age, renal function, serum albumin, and hematocrit, but
There are currently no clinical data on rivaroxaban in chil-      the average of these effects remained within the overall
dren (age \18 years). However, a formulation (oral sus-           variability of the population [14]. In the second model,
pension containing 1 mg/mL rivaroxaban) intended for use          which used data from both hip and knee replacement
in the pediatric population was investigated in healthy male      patients from the phase II program, the only major dif-
adults to assess the relative bioavailability compared with the   ference in the pharmacokinetic properties was a 26 %
standard tablet formulation. The investigated doses were          lower rivaroxaban clearance in the knee replacement
10 mg and 20 mg rivaroxaban. The data showed that the             study, which resulted in an approximately 30 % greater
dose-normalized pharmacokinetic parameters were similar           exposure [51].
for a 10 mg tablet and a 10 mg oral suspension in the fasted
state and a 20 mg rivaroxaban suspension in the fed state         5.2 Treatment of Deep Vein Thrombosis
[34]. The ﬁrst study with rivaroxaban in the pediatric popu-          and Pulmonary Embolism
lation (NCT01145859) is currently ongoing in patients
aged between 6 months and \18 years at the end of their           Two phase II studies of rivaroxaban for the treatment of
VTE treatment. This phase I study will assess the pharmaco-       acute DVT collected pharmacokinetic data for population-
kinetic and pharmacodynamic proﬁle of single doses of riva-       based modeling of the pharmacokinetics of rivaroxaban in
roxaban in these patients, using weight-adjusted doses of         patients with acute DVT. Data based on 4,634 rivaroxaban
equivalent exposure to rivaroxaban 10 mg or 20 mg doses in        plasma samples from 870 patients were included [15]. As
adults.                                                           with healthy subjects and patients undergoing hip or knee
                                                                  replacement surgery, the pharmacokinetics of rivaroxaban
                                                                  were well described by a one-compartment model, and the
5 Pharmacokinetics in Patient Populations                         pharmacokinetics of all rivaroxaban doses tested
                                                                  (20–60 mg total daily doses) were predictable, i.e. were
5.1 Prevention of Venous Thromboembolism after Hip                affected by anticipated demographic factors, whether
    or Knee Replacement Surgery                                   administered once daily or twice daily [15]. Inter-individ-
                                                                  ual variability in pharmacokinetics was moderate
In phase II clinical trials of rivaroxaban for VTE preven-        (30–40 %) and was consistent over the 12-week duration of
tion in patients undergoing total hip or knee replacement         the studies. There was a dose-dependent increase in riva-
surgery, data were collected and used to construct                roxaban exposure and the pharmacokinetic proﬁle was
population pharmacokinetic models to characterize the             similar when given once daily or twice daily with all doses.
pharmacokinetics of rivaroxaban in typical orthopedic             In all once-daily and twice-daily simulations, Cmax was
surgery populations [14, 51]. One model compared riva-            reached at 2–4 h after administration. When comparing the
roxaban once-daily and twice-daily doses in patients              same total daily doses, rivaroxaban given once daily
undergoing total hip replacement surgery and the other            showed a higher Cmax and a lower Ctrough compared with
model included both hip and knee replacement patients             twice-daily dosing; however, the 5th–95th percentile ranges
from the phase II program. Pharmacokinetics were evalu-           for these parameters overlapped [15]. The estimated values
ated by non-linear mixed effects modeling using NON-              for AUC, Cmax, and Ctrough at steady state after 20 mg once
MEM. Inputs to the model could then be modiﬁed to                 daily are given in Table 3.
        Case 2:14-md-02592-EEF-MBN Document 5641-17 Filed 03/03/17 Page 7 of 16
Clinical Pharmacology of Rivaroxaban                                                                                                                                                             7


Table 3 Plasma concentrations of rivaroxaban in patient populations studied (licensed indications)
Patient population/clinical setting                               Rivaroxaban dose                                               AUC24 (lg  h/L)          Ctrough (lg/L)a    Cmax (lg/L)b

VTE prevention after total hip replacement surgery                10 mg od                                                       1,170 (772–2,118)c         9 (1–38)c         125 (91–196)c
                                                                                                                                                       d             d
DVT treatment (continued treatment)                               20 mg od                                                       2,814 (1,702–4,773)       26 (6–87)          270 (189–419)d
Stroke prevention in patients with AF (CLCR C50 mL/min)           20 mg od                                                       3,164 (1,860–5,434)e      44 (12–137)e       249 (184–343)e
                                                                                                                                                       e                  e
Stroke prevention in patients with AF (CLCR 30–49 mL/min)         15 mg od                                                       3,249 (1,929–5,311)       57 (18–136)        229 (178–313)e
                                                                                                                                                  f                  f
Secondary prevention in patients with ACS                         2.5 mg bid                                                      376 (213–641)            17 (6–37)            46 (28–70)f
a
    Deﬁned as samples collected 20–28 h after dosing
b
    Deﬁned as samples collected 2–4 h after dosing
c
    Median estimated values (5th–95th percentile range) in phase II studies in patients undergoing total hip replacement surgery [14]
d
    Parameter estimates at steady state—geometric means (5th–95th percentile range) in phase II studies in the acute treatment of DVT [15]
e
  Parameter estimates at steady state—geometric means (5th–95th percentile range) in stroke prevention in patients with AF (Girgis et al.
unpublished data; Bayer HealthCare Pharmaceuticals and Janssen Research & Development, LLC: data on ﬁle)
f
 Median estimated values (5th–95th percentile range) at steady state in patients with ACS in the phase II ATLAS ACS TIMI 46 trial [55].
AUC provided as AUC12
ACS acute coronary syndrome, AUC12 area under the plasma concentration–time curve from time zero to 12 h, AUC24 area under the plasma
concentration–time curve from time zero to 24 h, AF atrial ﬁbrillation, bid twice daily, Cmax maximum plasma concentration, CLCR creatinine
clearance, Ctrough minimum plasma concentration, DVT deep vein thrombosis, od once daily, VTE venous thromboembolism


   The oral one-compartment model obtained from DVT                                                                              Typical patient aged 60 years, weighing 80 kg, CLCR 90 mL/min
patients was used to simulate plasma rivaroxaban concen-                                                                         5th and 95th percentiles
                                                                                                                                 Patient aged 90 years, CLCR ~30 mL/min
tration–time proﬁles for extremes in age, renal function,                                                                        Patient with CLCR~35 mL/min
and body weight for patients receiving rivaroxaban 20 mg                                                                         Patient aged 90 years, weighing ~45 kg
                                                                                                                                 Patient aged 90 years
once daily (Fig. 3). Age and renal function had a moderate                                                                       Patient weighing ~45 kg
inﬂuence on rivaroxaban exposure, and the inﬂuence of                                                                  500
                                                                             Plasma rivaroxaban concentration (μg/L)




body weight was small (Fig. 3). The Cmax for all simula-
tions was within the 5th–95th percentile ranges of the                                                                 400
population mean values, which indicated that ﬁxed dosing
would be possible for a wide patient population. In addi-
                                                                                                                       300
tion, simulation of the phase III VTE treatment dosing
regimen (rivaroxaban 15 mg twice daily for 3 weeks fol-
                                                                                                                       200
lowed by rivaroxaban 20 mg once daily, derived from
phase II data) demonstrated that the transition from the
initial intensiﬁed 15 mg twice-daily to 20 mg once-daily                                                               100

dosing should not expose patients to substantial ﬂuctuation
in Cmax [15]. Subsequently, the efﬁcacy and safety of these                                                             0
dose regimens (i.e. 15 mg twice daily followed by 20 mg                                                                      0          4         8         12           16      20         24

once daily) have been demonstrated in the phase III EIN-                                                                                    Time after administration (hours)

STEIN DVT and EINSTEIN PE studies [10, 11].                                Fig. 3 Predicted steady-state rivaroxaban plasma concentration–time
                                                                           proﬁles for typical patients with extremes in age, renal function
5.3 Stroke Prevention in Patients with Non-valvular                        (expressed as calculated CLCR), and body weight, according to the
    Atrial Fibrillation                                                    relationships established in the pharmacokinetic model, for patients
                                                                           receiving rivaroxaban 20 mg once daily compared with the post hoc
                                                                           estimated rivaroxaban plasma concentration range [geometric mean,
No dose-ﬁnding study has been conducted in patients with                   5th–95th percentiles] of the 20 mg once-daily treatment group in the
non-valvular AF; doses for this patient population were                    phase II EINSTEIN DVT study [15]. Reproduced from Mueck et al.
derived from the phase II studies for the treatment of DVT.                [15] with permission from Springer International Publishing AG
                                                                           (Ó Adis Data Information BV 2011. All rights reserved.).
However, compared with patients with DVT, patients with                    CLCR creatinine clearance
AF are generally older and likely to have decreased renal
function. A population pharmacokinetic model for riva-
roxaban in patients with AF was constructed based on data                  receiving rivaroxaban for the treatment of DVT [15]. A
from the DVT treatment studies, taking into account the                    virtual population of 1,000 elderly patients with AF was
fact that AF populations are typically older than those                    simulated. In this virtual AF population receiving
      Case 2:14-md-02592-EEF-MBN Document 5641-17 Filed 03/03/17 Page 8 of 16
8                                                                                                                 W. Mueck et al.


rivaroxaban 20 mg once daily, the average AUC was                   TIMI 51 study, rivaroxaban (2.5 mg or 5 mg twice daily) in
3,310 lg/h/L, and the average Cmax and Ctrough were 290             combination with mono or dual antiplatelet therapy was
and 32 lg/L, respectively. In addition, data from these             shown to reduce the risk of death from cardiovascular causes,
simulations demonstrated that moderate renal impairment             myocardial infarction, or stroke, without increasing the rate
(i.e. CLCR 30–49 mL/min) and, to a lesser extent, increased         of fatal bleeding events, in patients with ACS [12]. The
age (C75 years) led to a slight increase in rivaroxaban             2.5 mg twice-daily dose has been approved for this indica-
exposure because of reduced clearance, a prolonged elim-            tion in Europe [3].
ination half-life, and increased Ctrough values [15]. This is
expected because approximately one-third of the riva-               5.5 Use in Patients with Chronic Heart Failure
roxaban dose is excreted as unchanged drug by the kidneys
[35, 36], and elderly patients are likely to have decreased renal   The pharmacokinetics and pharmacodynamics of riva-
function [52], which would affect the pharmacokinetics of           roxaban have been investigated in a small study of patients
rivaroxaban. Additional simulations in virtual patient popu-        with chronic heart failure [56]. Patients with acute
lations with AF showed that a rivaroxaban dose of 15 mg             decompensated heart failure or stable, severe, New York
once daily in patients with a CLCR of 30–49 mL/min would            Heart Association Class III/IV heart failure received
achieve AUC and Cmax values similar to those observed               rivaroxaban 10 mg once daily for 6 days. Rivaroxaban exhib-
with rivaroxaban 20 mg once daily in patients with normal           ited similar, predictable pharmacokinetics and pharmaco-
renal function [15].                                                dynamics in patients with acute and stable chronic heart
    Based on these data, patients with moderate renal               failure. Compared with healthy young and healthy elderly
impairment (CLCR 30–49 mL/min) were given a reduced                 subjects (aged 65–80 years), rivaroxaban exposure (AUC)
dose of rivaroxaban 15 mg once daily (as opposed to riva-           was increased by 1.8- and 1.2-fold, respectively, in patients
roxaban 20 mg for patients without renal impairment or              with chronic heart failure [56].
with mild renal impairment) in the phase III ROCKET AF
study in patients with non-valvular AF. The exposure pre-           5.6 Prevention of Venous Thromboembolism
dictions [15] were subsequently conﬁrmed in a population                in Acutely Ill, Hospitalized Patients
pharmacokinetic analysis of the ROCKET AF study
(Table 3) (Girgis et al. unpublished data). Subgroup analy-         Rivaroxaban was compared with enoxaparin for the pre-
ses of data from the ROCKET AF study demonstrated that              vention of VTE in patients hospitalized for medical ill-
the clinical outcomes were consistent between patients              nesses in the randomized, phase III MAGELLAN study
receiving rivaroxaban 20 mg once daily (CLCR C50 mL/                [57]. Compared with short-duration enoxaparin, extended-
min) and those receiving 15 mg once daily (CLCR                     duration rivaroxaban at a dose of 10 mg once daily further
30–49 mL/min) [9, 53].                                              reduced the incidence of VTE but was associated with a
                                                                    signiﬁcant increase in the incidence of major or clinically
5.4 Secondary Prevention in Patients with Acute                     relevant non-major bleeding. Values for drug exposure at
    Coronary Syndrome                                               steady state were in the range of those previously obtained
                                                                    with rivaroxaban 10 mg once daily both in healthy adults
Using data from the phase II ATLAS ACS TIMI 46 study                and in patients undergoing major orthopedic surgery
[54], a population pharmacokinetic model was constructed            (Bayer HealthCare Pharmaceuticals and Janssen Research
to characterize the parameters of rivaroxaban in this popu-         & Development, LLC: data on ﬁle).
lation. Data from 2,290 patients were used for the population
pharmacokinetic modeling [55], which showed that the
pharmacokinetics of this patient population were adequately         6 Pharmacodynamics and Pharmacokinetic/
described by an oral one-compartment model. Total clear-              Pharmacodynamic Relationships
ance and apparent volume of distribution for the ACS patient
population were similar to those in the populations for VTE         6.1 Healthy Volunteers
prevention, DVT treatment, and stroke prevention in patients
with AF. Simulations of individual steady-state drug expo-          Because of its mode of action, several speciﬁc and global
sures following oral administration of a 2.5 mg twice-daily         clotting tests are affected by rivaroxaban. In phase I stud-
dosing regimen indicated that the inﬂuence of renal function,       ies, Factor Xa activity was inhibited in a dose-dependent
age, and body weight on exposure were consistent with               fashion by rivaroxaban, which provided the ‘proof of
previous ﬁndings in other patient populations. The estimated        mechanism’ in humans (Fig. 4) [25, 33]. After single riva-
values for AUC, Cmax, and Ctrough at steady state are given in      roxaban doses of 1.25–80 mg, maximal Factor Xa inhi-
Table 3 [55]. In the subsequent phase III ATLAS ACS 2               bition was seen 1–4 h after tablet intake, and the inhibition
      Case 2:14-md-02592-EEF-MBN Document 5641-17 Filed 03/03/17 Page 9 of 16
Clinical Pharmacology of Rivaroxaban                                                                                             9


                                                                      Rivaroxaban also prolonged activated partial thrombo-
                                                                      plastin time and HepTest, and the proﬁles were similar in
                                                                      shape to those for PT prolongation and inhibition of Factor
                                                                      Xa activity, although the sensitivity was different [25, 33].
                                                                      In healthy male subjects, rivaroxaban (a single 5 mg or
                                                                      30 mg dose) also dose-dependently inhibited thrombin
                                                                      generation in response to tissue factor or collagen stimula-
                                                                      tion. Some parameters of thrombin generation remained
                                                                      inhibited for 24 h after administration of a 30 mg dose [21].
                                                                         The pharmacodynamic parameters of rivaroxaban were
                                                                      affected by variations in demographic characteristics to
                                                                      differing degrees. In elderly subjects, values for the inhi-
                                                                      bition of Factor Xa activity and the prolongation of PT
                                                                      were higher compared with those in younger patients after
                                                                      a single 10 mg dose of rivaroxaban, but returned close to
                                                                      baseline levels within 24 h [42]. Variations in body weight,
                                                                      sex, and ethnicity did not affect rivaroxaban pharmaco-
                                                                      dynamics to a relevant extent (as with the pharmaco-
                                                                      kinetics) [42, 43, 45, 46]. In subjects with mild (CLCR
                                                                      50–80 mL/min), moderate (CLCR 30–49 mL/min), and
                                                                      severe (CLCR 15–29 mL/min) renal impairment, the over-
                                                                      all inhibition of Factor Xa activity was increased by 1.5-,
                                                                      1.9-, and 2.0-fold, respectively, compared with healthy
                                                                      subjects. The AUC for prolongation of PT was 1.3-, 2.2-,
                                                                      and 2.4-fold higher in subjects with mild, moderate, and
                                                                      severe renal impairment, respectively, than that in healthy
                                                                      subjects [47]. In patients with moderate hepatic impair-
                                                                      ment, pharmacodynamic responses were signiﬁcantly
                                                                      enhanced compared with those in healthy subjects, as
                                                                      measured by the inhibition of Factor Xa activity (P \ 0.05
                                                                      for the maximum effect) and prolongation of PT
Fig. 4 Concentration–effect relationship for Factor Xa activity
(a) and prothrombin time (b) in healthy male subjects receiving       (P \ 0.0001 for the maximum prolongation) [50]. The
rivaroxaban [16]. Reproduced from Mueck et al. [16] with permission   prolonged PT was in part caused by the increases in plasma
from Dustri-Verlag Dr. Karl Feistle Ó 2007                            levels; however, the underlying hepatic disease that impairs
                                                                      the synthesis of coagulation factors had additional effects
effect was still evident 24 h after the administration of doses       on the PT. This inﬂuence of the underlying disease results
[5 mg. Rivaroxaban was selective for Factor Xa inhibition             in higher PT values at baseline as well as a steeper linear
and had no direct effect on the activity of thrombin and              regression between PT and rivaroxaban plasma concen-
antithrombin [25]. After multiple rivaroxaban doses up to             trations. There are no data in patients with severe hepatic
30 mg twice daily, Factor Xa activity was inhibited in a              impairment (Child–Pugh C) and rivaroxaban is contrain-
dose-dependent manner, reaching a maximum after                       dicated in patients with hepatic disease associated with
approximately 3 h, and the inhibition continued until the             coagulopathy and clinically relevant bleeding risk,
end of the dosing interval [33]. The inhibition of Factor Xa          including cirrhotic patients classiﬁed as Child–Pugh B and
activity and plasma concentrations of rivaroxaban were                C [3].
closely correlated according to a maximum effect (Emax)                  In the early stage of clinical development it was
model [16]. Prolongation of the PT (using Neoplastin) was             believed that PT might be a useful laboratory test platform
correlated with the rivaroxaban plasma concentrations in a            for measuring rivaroxaban, if required in certain clinical
linear relationship (Fig. 4). The models described the                situations. Existing data suggest that PT can provide a
observed pharmacokinetic/pharmacodynamic relationship                 quantitative measurement of rivaroxaban when using one
with high accuracy (mean percentage error was 4.8 % for               central laboratory with a reagent sensitive to rivaroxaban.
Factor Xa activity and 0.1 % for PT prolongation), and high           However, the assay is not optimal under ﬁeld conditions
precision (root mean square percentage error was 17.9 %               when different laboratories and assays are used. Likewise,
for Factor Xa activity and 7.3 % for PT prolongation).                corrections using the international normalized ratio (INR)
     Case 2:14-md-02592-EEF-MBN Document 5641-17 Filed 03/03/17 Page 10 of 16
10                                                                                                          W. Mueck et al.


[58, 59] do not address this limitation. In contrast, a        induced by the H2-receptor antagonist ranitidine (150 mg
number of studies have conﬁrmed the clinical utility of        twice daily) or antacid [63]. There was also no clinically
anti-Factor Xa chromogenic assays for the quantitative         meaningful effect on the pharmacokinetic parameters when
measurements of rivaroxaban plasma levels, when used in        a single 20 mg dose of rivaroxaban was given to healthy
conjunction with rivaroxaban calibrators. These assay kits     subjects who had received omeprazole 40 mg once daily
and rivaroxaban calibrators are now commercially avail-        for 5 days [64]. The potential inﬂuence of other commonly
able and are suitable for detecting a wide range of riva-      prescribed drugs on the pharmacokinetics of rivaroxaban
roxaban plasma levels covering the therapeutic doses [59–      has also been investigated in a number of phase I studies.
62].                                                           Data from these studies showed that co-administration of
                                                               rivaroxaban with naproxen (500 mg) [65], aspirin (500 mg
6.2 Patient Populations                                        followed by 100 mg) [66], clopidogrel (300 mg followed
                                                               by 75 mg) [67], enoxaparin (40 mg) [68], and warfarin
In accordance with the data established in healthy subjects    (titrated to an INR of 2.0–3.0) [69] did not affect the
in the phase I studies, rivaroxaban exhibited dose-depen-      pharmacokinetics of rivaroxaban [3].
dent pharmacodynamics. The relationships between riva-             The high bioavailability of rivaroxaban indicates a lack
roxaban plasma concentration and pharmacodynamic               of presystemic extraction (i.e. intestinal P-gp and CYP3A4
parameters could also be established in all patient popu-      do not play a relevant role in absorption). However,
lations studied (e.g. in VTE prevention after total hip or     because of the involvement of CYP3A4 and CYP2J2 in the
knee surgery, DVT treatment, stroke prevention in patients     oxidative metabolism of rivaroxaban and P-gp/BCRP in its
with AF, and in the ACS patient population) [15, 51, 55].      active renal secretion, it was anticipated that co-adminis-
   Pharmacodynamic modeling using data from the phase          tration with drugs that interfere with these pathways could
II studies in patients undergoing total hip or knee            affect rivaroxaban exposure. Data from phase I studies
replacement surgery showed that inhibition of Factor Xa        showed that there was no clinically relevant pharmaco-
activity was closely correlated with rivaroxaban plasma        kinetic interaction between rivaroxaban and the CYP3A4
concentrations following an inhibitory Emax model [51].        substrate midazolam, the P-gp substrate digoxin, or with
The concentration of rivaroxaban producing 50 % of the         the CYP3A4/P-gp substrate atorvastatin [38, 70], con-
maximum inhibition of Factor Xa activity was 296 lg/L in       ﬁrming that rivaroxaban is not an inducer or inhibitor of
the hip study. In both once-daily and twice-daily dosing hip   any major CYP isoforms. Concomitant administration of
replacement studies, PT correlated with rivaroxaban            rivaroxaban with strong inhibitors of both CYP3A4 and
plasma concentrations according to a simple, linear inter-     P-gp/BCRP (e.g. ketoconazole and ritonavir), however,
cept model [51]. In phase II studies in patients receiving     signiﬁcantly increased rivaroxaban exposure [38]. When a
rivaroxaban for the treatment of acute DVT, the concen-        single dose of rivaroxaban (10 mg) and steady-state keto-
tration–effect relationships for all pharmacodynamic           conazole 200 mg once daily were co-administered, the
parameters were broadly consistent with those found in         AUC and Cmax of rivaroxaban were increased by 1.8- and
healthy subjects and patients undergoing total hip or knee     1.5-fold, respectively. Using multiple doses of rivaroxaban
replacement surgery. Maximum PT prolongation was seen          (10 mg once daily) and a higher dose of ketoconazole
1–4 h after tablet intake, and PT prolongation correlated      (400 mg once daily), concomitant administration led to a
with plasma rivaroxaban concentrations (up to 500 lg/L)        2.6-fold increase in the AUC and a 1.7-fold increase in the
in an almost linear fashion [15]. The pharmacodynamic          Cmax of rivaroxaban [38]. Similarly, steady-state ritonavir
estimates in the AF and ACS patient populations were           (600 mg twice daily) also signiﬁcantly increased riva-
similar to those for VTE prevention and DVT treatment          roxaban exposure after a single 10 mg dose; the AUC and
[15, 55].                                                      Cmax of rivaroxaban increased by 2.5- and 1.6-fold,
                                                               respectively, in a phase I study in healthy subjects [38].
                                                               These data support the recommendation that co-adminis-
7 Drug Interactions                                            tration of rivaroxaban with strong inhibitors of both
                                                               CYP3A4 and P-gp should be avoided because of increased
7.1 Effects of Other Drugs on the Pharmacokinetics             rivaroxaban exposure, and consequently, increased risk of
    of Rivaroxaban                                             bleeding complications [3]. However, strong inhibitors of
                                                               either CYP3A4 or P-gp, or moderate inhibitors of both of
Unlike the VKAs, rivaroxaban has a low potential for           these pathways, produced less marked effects [38]. The
drug–drug interactions. In phase I studies in healthy sub-     following drugs moderately affected rivaroxaban exposure,
jects, the absorption and pharmacokinetic parameters of        but not to a clinically relevant extent: erythromycin
rivaroxaban were not affected by changes in gastric pH         (moderate CYP3A4/P-gp inhibitor; 34 % increase),
     Case 2:14-md-02592-EEF-MBN Document 5641-17 Filed 03/03/17 Page 11 of 16
Clinical Pharmacology of Rivaroxaban                                                                                    11


clarithromycin (strong CYP3A4/moderate P-gp inhibitor;         rivaroxaban when co-administered. Inhibition of adenosine
54 % increase), and ﬂuconazole (moderate CYP3A4/pos-           diphosphate-stimulated platelet aggregation by clopidogrel
sible BCRP inhibitor; 42 % increase) [38]. In contrast, co-    was not affected by rivaroxaban. Bleeding time was
administration of rivaroxaban and erythromycin (and, by        increased by clopidogrel, and co-administration of riva-
extension, other moderate CYP3A4 and P-gp inhibitors) in       roxaban and clopidogrel further increased bleeding time in
patients with renal impairment may increase rivaroxaban        a subset of subjects (least squares means of 3.8 times
exposure [38]. Concomitant administration of rivaroxaban       baseline compared with 1.1 times baseline with riva-
and strong CYP3A4 and P-gp inducers, such as the anti-         roxaban alone and 2.0 times baseline with clopidogrel alone)
biotic rifampicin, led to decreases in rivaroxaban exposure;   [67]. In healthy subjects, single doses of rivaroxaban
therefore, such a combination should be used with caution      (10 mg) and enoxaparin (40 mg) showed similar anti-
[3] (Table 4).                                                 Factor Xa activities, and co-administration of rivaroxaban
                                                               with enoxaparin resulted in an enhanced anti-Factor Xa
7.2 Effect of Rivaroxaban on the Pharmacokinetics              activity compared with each drug alone [68]. Furthermore,
    of Other Drugs                                             it was anticipated that in daily clinical practice, some
                                                               patients may require switching between anticoagulants in
In a number of phase I studies, the potential inﬂuence of      certain situations, including from warfarin to rivaroxaban
rivaroxaban on the pharmacokinetic proﬁles of other co-        or vice versa. The pharmacodynamic proﬁles during tran-
administered agents was also investigated, as well as their    sition from steady-state warfarin (INR 2.0–3.0) to riva-
inﬂuence on the pharmacokinetics of rivaroxaban. In all        roxaban 20 mg once daily was, therefore, investigated in
these studies, no clinically relevant effect of rivaroxaban    healthy subjects. Data from this study demonstrated an
was found on the pharmacokinetic parameters of the drugs       additive effect on the prolongation of PT/INR during the
tested, including digoxin [70], atorvastatin [70], midazolam   initial transitioning period from warfarin to rivaroxaban,
[38], enoxaparin [68], and warfarin [69].                      but the effects of rivaroxaban on anti-Factor Xa activity,
                                                               HepTest, and prothrombinase-induced clotting time were
7.3 Pharmacodynamic Drug Interactions                          not affected by pretreatment with warfarin [3, 69] (see
                                                               Table 4 for a summary of the drug–drug interaction proﬁle
As an anticoagulant, rivaroxaban has the potential to          of rivaroxaban).
interact with other drugs that inﬂuence the coagulation
system. In phase I studies, co-administration of rivaroxaban
(a single 15 mg dose) and naproxen (representative of non-     8 Discussion and Conclusions
steroidal anti-inﬂammatory drugs) showed that naproxen
(500 mg) had no inﬂuence on the inhibition of Factor Xa        Data from the extensive phase I and phase II dose-ranging
activity and prolongation of PT induced by rivaroxaban.        studies and the subsequent population modeling demon-
The combination of rivaroxaban and naproxen did not            strate that the pharmacokinetics of rivaroxaban are pre-
affect platelet aggregation, but co-administration of both     dictable and were affected by anticipated demographic
drugs signiﬁcantly increased bleeding time compared with       factors, as expected, and that the pharmacodynamic
rivaroxaban or naproxen alone. Increases in bleeding times     parameters correlate closely with rivaroxaban plasma
from baseline were 1.46-, 1.20-, and 2.17-fold after           concentrations in both healthy subjects and in patients
naproxen alone, rivaroxaban alone, and the combination of      receiving rivaroxaban for several thromboembolic indica-
rivaroxaban and naproxen, respectively [65]. Aspirin           tions, including VTE prevention after total hip or knee
(500 mg followed by 100 mg) did not alter the effects of       replacement surgery, treatment of DVT, and secondary
rivaroxaban (a single 15 mg dose) on Factor Xa activity or     prevention in patients with ACS [14, 15, 55]. Together,
clotting tests, and rivaroxaban did not inﬂuence the effects   these data have supported the dose selections for the phase
of aspirin on platelet aggregation. Bleeding time was sig-     III studies conducted with rivaroxaban.
niﬁcantly prolonged with aspirin alone and the combina-           Oral absorption of rivaroxaban is almost complete for
tion of both drugs, compared with rivaroxaban alone. The       the 10 mg tablet, and intake with food does not affect its
combination of rivaroxaban and aspirin prolonged bleeding      AUC or Cmax; therefore, rivaroxaban 10 mg tablets can be
time slightly more than aspirin alone [66]. The potential      taken with or without food. Higher doses of rivaroxaban
pharmacodynamic interaction of rivaroxaban (a single           (15 mg and 20 mg) should be taken with food to achieve a
15 mg dose) with clopidogrel (300 mg followed by 75 mg)        high bioavailability. Variability in the pharmacokinetics of
has also been studied in healthy subjects. The data showed     rivaroxaban is moderate, with inter-individual variability
that clopidogrel had no inﬂuence on the inhibition of Factor   (coefﬁcient variation) of 30–40 %. The most important
Xa activity or prolongation of the PT induced by               covariates determining the pharmacokinetics of rivaroxaban
      Case 2:14-md-02592-EEF-MBN Document 5641-17 Filed 03/03/17 Page 12 of 16
12                                                                                                                                 W. Mueck et al.


Table 4 Summary of drug–drug interactions
Concomitant               Effect on rivaroxaban   Comments/recommendationsb
drug                      concentrationa

Azole-antimycotics
 Ketoconazole [38]        Increase                Co-administration of rivaroxaban with the azole-antimycotic ketoconazole (400 mg od) led to a
                                                   2.6-fold increase in mean rivaroxaban steady-state AUC and a 1.7-fold increase in mean Cmax,
                                                   with signiﬁcant increases in its pharmacodynamic effects that may lead to an increased risk of
                                                   bleeding. Rivaroxaban is not recommended in patients receiving concomitant systemic
                                                   treatment with ketoconazole, itraconazole, voriconazole, or posaconazole. These active
                                                   substances are strong inhibitors of both CYP3A4 and P-gp
 Fluconazole [38]         Increase                Co-administration of the moderate CYP3A4 inhibitor ﬂuconazole (400 mg od) led to a 1.4-fold
                                                   increase in mean rivaroxaban AUC and a 1.3-fold increase in mean Cmax. This increase is not
                                                   considered clinically relevant
HIV protease inhibitors
 Ritonavir [38]           Increase                Co-administration of rivaroxaban with the HIV protease inhibitor ritonavir (600 mg bid) led to a
                                                   2.5-fold increase in mean rivaroxaban AUC and a 1.6-fold increase in mean Cmax, with
                                                   signiﬁcant increases in its pharmacodynamic effects that may lead to an increased risk of
                                                   bleeding. The use of rivaroxaban is not recommended in patients receiving systemic treatment
                                                   with ritonavir or other HIV protease inhibitors. These active substances are strong inhibitors of
                                                   both CYP3A4 and P-gp
Anti-infectives
 Erythromycin [38]        Increase                Co-administration of erythromycin (500 mg tid), which inhibits CYP3A4 and P-gp moderately,
                                                   led to a 1.3-fold increase in mean rivaroxaban AUC and Cmax. This increase is not considered
                                                   clinically relevant
 Clarithromycin [38]      Increase                Co-administration of clarithromycin (500 mg bid), considered a strong CYP3A4 inhibitor and
                                                   moderate P-gp inhibitor, led to a 1.5-fold increase in mean rivaroxaban AUC and a 1.4-fold
                                                   increase in Cmax. This increase is not considered clinically relevant
 Rifampicin [3]           Decrease                Rifampicin is a strong inducer of CYP3A4. Co-administration of rivaroxaban with rifampicin led
                                                   to an approximate 50 % decrease in mean rivaroxaban AUC, with parallel decreases in its
                                                   pharmacodynamic effects. Strong CYP3A4 inducers [e.g. rifampicin, phenytoin,
                                                   carbamazepine, phenobarbital, or St John’s wort (Hypericum perforatum)] should be
                                                   administered with caution in combination with rivaroxaban
Anticoagulants
 Enoxaparin [68]          No effect               After combined administration of enoxaparin (40 mg single dose) with rivaroxaban (10 mg
                                                   single dose), an additive effect on anti-Factor Xa activity was observed, without additional
                                                   effects on prolongation of PT. Enoxaparin did not affect the pharmacokinetics of rivaroxaban.
                                                   Because of the increased risk of bleeding, care is to be taken if patients are treated
                                                   concomitantly with any other anticoagulants
 Warfarin [69]            No effect               Converting patients from the vitamin K antagonist warfarin (INR 2.0–3.0) to rivaroxaban
                                                   (20 mg) or from rivaroxaban (20 mg) to warfarin (INR 2.0–3.0) increased PT/INR (Neoplastin)
                                                   more than additively (individual INR values up to 12 may be observed), whereas effects on
                                                   aPTT, inhibition of Factor Xa activity, and ETP were additive
                                                  If it is necessary to test the pharmacodynamic effects of rivaroxaban during the conversion
                                                    period, anti-Factor Xa activity, PiCT, and Heptest can be used because these tests were not
                                                    affected by warfarin. On the fourth day after the last dose of warfarin, all tests (including PT,
                                                    aPTT, inhibition of Factor Xa activity, and ETP) reﬂected only the effect of rivaroxaban
                                                  If it is necessary to test the pharmacodynamic effects of warfarin during the conversion period,
                                                    INR measurement can be used at the Ctrough of rivaroxaban (24 h after the previous intake of
                                                    rivaroxaban) because INR is minimally affected by rivaroxaban at this time point. No
                                                    pharmacokinetic interaction was observed between warfarin and rivaroxaban
Non-steroidal anti-inﬂammatory drugs
 Naproxen [65]            No effect               Co-administration with naproxen did not affect rivaroxaban pharmacokinetics. No clinically
                                                   relevant prolongation of bleeding time was observed after concomitant administration of
                                                   rivaroxaban (15 mg) and 500 mg naproxen. Nevertheless, there may be individuals with a more
                                                   pronounced pharmacodynamic response. Care is to be taken if patients are treated
                                                   concomitantly with NSAIDs (including aspirin) because these medicinal products typically
                                                   increase the risk of bleeding
        Case 2:14-md-02592-EEF-MBN Document 5641-17 Filed 03/03/17 Page 13 of 16
Clinical Pharmacology of Rivaroxaban                                                                                                              13


Table 4 continued
Concomitant              Effect on rivaroxaban   Comments/recommendationsb
drug                     concentrationa

    Aspirin [66]         No effect               No clinically signiﬁcant pharmacokinetic or pharmacodynamic interactions were observed when
                                                  rivaroxaban was co-administered with 500 mg aspirin. Care is to be taken if patients are treated
                                                  concomitantly with NSAIDs (including aspirin) because these medicinal products typically
                                                  increase the risk of bleeding
Antiplatelet drugs
    Clopidogrel [67]     No effect               Clopidogrel (300 mg loading dose followed by 75 mg maintenance dose) did not affect the
                                                  pharmacokinetics of rivaroxaban (15 mg), but a relevant increase in bleeding time was
                                                  observed in a subset of patients that was not correlated with platelet aggregation, P-selectin, or
                                                  GPIIb/IIIa receptor levels. Care is to be taken if patients are treated concomitantly with platelet
                                                  aggregation inhibitors because these medicinal products typically increase the risk of bleeding
a
    Data from clinical pharmacology studies
b
    Based on the Summary of Product Characteristics (EU) [3]
aPTT activated partial thromboplastin time, AUC area under the plasma concentration–time curve, bid twice daily, Cmax maximum plasma
concentration, Ctrough minimum plasma concentration, CYP cytochrome P450, ETP endogenous thrombin potential, INR international normalized
ratio, NSAID non-steroidal anti-inﬂammatory drug, od once daily, PiCT prothrombinase-induced clotting time, P-gp P-glycoprotein, PT prothrombin
time, tid three times daily



were found to be age and renal function, the latter occurring              contraindicated in patients with CLCR \30 mL/min [73],
either as a co-linear factor owing to age-related decrease in              whereas apixaban and rivaroxaban may be given to patients
renal function or through age-independent renal impairment.                with CLCR C15 mL/min [3, 71].
In all patient populations studied, the pharmacokinetic                       Data from the phase I drug-interaction studies indicate
properties of rivaroxaban were similar to those found in                   that the pharmacokinetic and pharmacodynamic parame-
healthy subjects. The inﬂuence of demographic factors on                   ters of rivaroxaban are not inﬂuenced by many commonly
the pharmacokinetics of rivaroxaban was moderate, as                       prescribed medications. However, strong inhibitors of both
anticipated, and, on average, within the variability of the                CYP3A4 and P-gp should not be co-administered, as out-
overall patient population. Simulations of typical patients                lined in the Summary of Product Characteristics [3]. Nei-
with extreme demographics (such as elderly with a low body                 ther dabigatran nor its prodrug dabigatran etexilate are
weight and impaired renal function) showed that the phar-                  metabolized by CYP-dependent mechanisms [73], which
macokinetic and pharmacodynamic proﬁles of rivaroxaban                     contrasts with the metabolism of rivaroxaban [3] and
in these patients remain within the variability range conﬁ-                apixaban [71]. However, because dabigatran etexilate is a
dence interval of an average patient [14, 15], supporting                  P-gp substrate, the effect of P-gp inhibitors and inducers on
ﬁxed dosing without the need for routine coagulation mon-                  the bioavailability of dabigatran is stronger than with riva-
itoring. Nevertheless, to optimize therapy, a reduced dose of              roxaban, and co-administration with such agents may
15 mg rivaroxaban is recommended for patients with AF                      necessitate dose adjustments [73, 74]. It should also be noted
with impaired renal function (i.e. elderly patients with CLCR              that P-gp transporters play a role in the absorption of apix-
30–49 mL/min) who receive long-term anticoagulation for                    aban, but not rivaroxaban [3, 71, 73, 75].
stroke prevention.                                                            In all relevant studies conducted with rivaroxaban to
   Similarly, the direct Factor Xa inhibitor apixaban and                  date, inhibition of Factor Xa and prolongation of the PT
the direct thrombin inhibitor dabigatran have also been                    (when using Neoplastin) are closely correlated with riva-
shown to exhibit predictable pharmacokinetics and                          roxaban plasma concentrations. It is now well recognized
pharmacodynamics. However, there are some important,                       that anti-Factor Xa chromogenic assays are best suited for
clinically relevant differences in the pharmacokinetic                     the quantitative measurement of rivaroxaban plasma levels,
properties of these direct oral anticoagulants. For example,               instead of PT [76]; this is also the case for apixaban [58].
renal elimination is markedly lower with apixaban                          Anti-Factor Xa assay kits and rivaroxaban calibrators are
(approximately 27 %) [71] and rivaroxaban (approximately                   commercially available for clinical use [such as Neopla-
36 %) [38], compared with dabigatran, which is largely                     stinÒ CI Plus (Diagnostica Stago, Asnières-sur-Seine,
eliminated via the kidneys ([80 %) [72]. Therefore, dose                   France) or RecombiPlasTin (Instrumentation Laboratory,
reductions with dabigatran are mandated or suggested                       Bedford, MA, USA)] and provide sensitive measurements
in patients with moderate renal impairment (CLCR                           of rivaroxaban exposure, if required in certain clinical
30–50 mL/min) [73]. In Europe, dabigatran is                               circumstances such as overdose, prior to emergency
     Case 2:14-md-02592-EEF-MBN Document 5641-17 Filed 03/03/17 Page 14 of 16
14                                                                                                                           W. Mueck et al.


surgery, or when drug accumulation is suspected (e.g. if                7. Lassen MR, Ageno W, Borris LC, et al. Rivaroxaban versus
patients develop acute renal failure) [76, 77]. However,                   enoxaparin for thromboprophylaxis after total knee arthroplasty.
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